           Case 2:03-cr-00384-WBS Document 250 Filed 02/14/08 Page 1 of 2


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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA      )
13                                 ) NO. 2:03-CR-00384-WBS
               Plaintiff,          )
14                                 )
15        v.                       ) GOVERNMENT’S AMENDED MOTION TO
                                   ) DISMISS COUNTS ONE AND THREE
16   JULIETTE LABRECQUE, aka Mary, ) OF THE INDICTMENT AS ALLEGED
                                   ) AGAINST JULIETTE LABRECQUE;
17             Defendant.          ) PROPOSED ORDER.
     ______________________________)
18
19         On February 7, 2008, this court declared a mistrial in the

20   government’s case against defendant Juliette Labrecque.           The mistrial

21   was the result of the jury’s inability to reach a verdict as to
22   Juliette Labrecque, who was charged in Counts One and Three of the
23
     Indictment.   In light of the split of the jurors, the government has
24
     decided not to retry Ms. Labrecque.        Therefore, the government files
25
     this motion to dismiss Counts One and Three of the Indictment as
26
27   alleged against defendant Juliette Labrecque.

28   ///

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           Case 2:03-cr-00384-WBS Document 250 Filed 02/14/08 Page 2 of 2


 1   ///
 2         The government further requests that upon the granting of the
 3
     government’s dismissal motion, the court order that Ms. Labrecque be
 4
     released from federal custody.
 5
     Date: February 13, 2008                Respectfully submitted.
 6
 7                                             McGREGOR W. SCOTT
                                               United States Attorney
 8
 9                                       By: //s// Laurel D. White
                                            LAUREL D. WHITE and
10                                          ELLEN ENDRIZZI
11                                          Assistant U.S. Attorneys

12
13                                     ORDER
14
15         IT IS HEREBY ORDERED for the reasons stated in the Government’s

16   Motion that Counts One and Three of the Indictment Cr.S-03-384 be, and
17   the same hereby are, DISMISSED WITH PREJUDICE as against defendant
18   Juliette Labrecque.
19
           IT IS FURTHER ORDERED that Juliette Labrecque be released from
20
     federal custody forthwith.
21
           IT IS SO ORDERED.
22
23   Date: February 14, 2008

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